


  BROWNING, J.
 

  AFFIRMED.
  
   See Lamb v. Matetzschk,
  
  906 So.2d 1037, 1044 (Fla.2005) (Pariente, C.J., concurring) (“[Wjhere the liability of one defendant is based on vicarious liability and the issue of vicarious liability is undisputed, apportionment of the offer between the active tortfeasor and the vicarious tortfeasor is problematic because the liability of both defendants is not apportioned but is coextensive.... No matter how clever a defendant or plaintiff might be in attempting to frame an offer, the reality is that there is no rational method to apportion fault.”).
 

  KAHN and BENTON, JJ, concur.
 
